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                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
 ------------------------------------------------------------------ X   DOC #: _________________
                                                                    :   DATE FILED: April 9, 2018
 DR. ALAN SACERDOTE, et al.,                                        :
                                                                    :
                                              Plaintiffs,           :
                                                                    :
                            -v-                                     :          16-cv-6284 (KBF)
                                                                    :
 NEW YORK UNIVERSITY,                                               :              ORDER
                                                                    :
                                              Defendant.            :
                                                                    :
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KATHERINE B. FORREST, District Judge:

        The Court has seen the Joint Pretrial Memorandum filed by the parties on

April 5, 2018 and performed a cursory review. (ECF No. 272.) The Court hereby

ORDERS as follows:

    1. The parties shall submit a paper copy to the Court immediately.

    2. All intended trial exhibits and deposition designations (as well as all other

        materials) should reflect the Court’s rulings on the parties’ Daubert motions

        and motions in limine. (ECF Nos. 270, 271.) That is, any additional

        materials inconsistent with the Court’s rulings should be eliminated.

    3. As the Court explained in the telephonic conference on February 6, 2018, the

        deposition designations should be set forth on one copy of each transcript

        (rather than one from each party). The parties should color code their

        designations, with objections in red. The parties shall also submit a cover
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     letter explaining their color code. These (as with all materials) must be

     submitted in paper and in color.

     SO ORDERED.

Dated:       New York, New York
             April 9, 2018

                                            ____________________________________
                                                 KATHERINE B. FORREST
                                                 United States District Judge




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